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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MEDCOR, INC., an Illinois Corporation,

               Plaintiff,                             Civil Case No.: 1:21-cv-02164

        v.                                            Honorable Manish S. Shah
CHRISTOPHER GARCIA, a California                        MEDCOR, INC.’S MEMORANDUM IN
resident; AMANDA BROWN, a Texas                       SUPPORT OF PLAINTIFF’S MOTION FOR
resident; DR. RAVI PATEL, a Florida                        EXPEDITED DISCOVERY, A
resident; and MEDWAY HEALTH, INC.,                       PRESERVATION ORDER, AND A
a California Corporation;                              PROTECTIVE ORDER TO DEFENDANT
                                                       CHRISTOPHER GARCIA, DEFENDANT
               Defendants.
                                                      AMANDA BROWN, DEFENDANT DR. RAVI
                                                        PATEL AND DEFENDANT MEDWAY
                                                                 HEALTH, INC.


     MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR EXPEDITED
      DISCOVERY, A PRESERVATION ORDER, AND A PROTECTIVE ORDER

I.           INTRODUCTION

        Plaintiff Medcor, Inc. (“Medcor”), through its attorneys, respectfully submits this

Memorandum in Support of Plaintiff’s Emergency Motion for Expedited Discovery,

Preservation Order, and Protective Order. Pursuant to this Motion, Plaintiff requests the Court to

enter an Order permitting Plaintiff to take limited expedited discovery to ascertain the extent of

Defendant Christopher Garcia’s, Defendant Amanda Brown’s, Defendant Ravi Patel’s, and

Defendant Medway, Inc.’s (collectively, “Defendants”) access to and misappropriation of

Plaintiff’s proprietary information and trade secrets. Moreover, Defendant Garcia, Defendant

Brown, and Defendant Patel are in continuous breach of their contractual obligations to Medcor.

Defendants have used and continue to use Medcor’s confidential and proprietary information and

trade secrets in a concerted effort to tortiously divert business away from Medcor to unjustly

enrich themselves.

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       Specifically, Medcor seeks leave to take the limited discovery identified below, which is

designed to elicit factual information related to Medcor’s claims, to preserve evidence of the

misappropriation, and in order to assess the extent of ongoing and irreparable harm to Medcor

resulting from Defendants’ unlawful actions. Medcor requests entry of a Protective Order

pursuant to Fed. R. Civ. P. 26(c)(1)(G) to protect confidential business and trade secret

information.

               A.      Inspection of Computers

       Medcor respectfully requests the Court to grant an Order requiring Defendants to submit

for a forensic examination all computers, smartphones, hard drives, and external storage devices

such as CDs, DVDs, and thumb or flash drives in their possession, custody or control, that are or

have been used in connection with Defendants’ solicitation and delivery of COVID services for

or on behalf of Defendant Medway or in competition with Medcor within fourteen (14) days of

the entry of an Order granting Medcor’s Motion. This request includes Medcor’s company

laptop computer and smartphone that Defendant Brown took with her after her employment by

Medcor was terminated. The inspection shall be conducted by a computer forensic consultant.

Medcor will bear the expenses associated with the forensic examination, without waiver of their

right to seek reimbursement of their expenses as part of this lawsuit.

               B.      Interrogatories and Document Production Requests

        Medcor moves the Court to order Defendants (a) to respond to Plaintiff’s First Set of

Interrogatories and (b) to respond to and produce documents and things responsive to Plaintiff’s

First Set of Request for Production of Documents and Things, within fourteen (14) days of

service. Plaintiff’s First Set of Interrogatories and Plaintiff’s First Set of Requests for

Production of Documents are attached hereto as Exhibit A and B, respectively.



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                C.     Preservation Order

         Lastly, Medcor requests the Court to enter a Preservation Order to preserve evidence. By

this Order, the Defendants shall be restrained from destroying, altering, or deleting any and all

evidence pertaining to this matter, including without limitation all communications, hard copy

documents, and electronically stored information or computer records in their possession,

custody, or control.

         As detailed below, Medcor has good cause for seeking the limited discovery outlined

above. Ordering expedited discovery will not unduly prejudice Defendants, will help ensure that

no potentially relevant evidence is destroyed, and will help to mitigate the injury suffered by

Plaintiff because of the misappropriation of its proprietary information.

II.         BACKGROUND

         Medcor provides on-site workplace healthcare services to clients across the United States

and in Canada to improve healthcare outcomes and access to medical care while reducing costs.

Medcor uses highly trained professional staff, evidence-based medicine, proprietary protocols,

and state-of-the-art systems to achieve sustained, positive results. Verified Complaint at ¶ 2. A

large component of Medcor’s business is COVID-19 related health security screening, testing,

and worksite COVID-19 exposure management services (collectively referred to as “COVID

Services”) offered to longstanding clients in the entertainment and sports industries who have

been Medcor clients for decades. Id.

         Medcor has developed the expertise to work in demanding COVID Services

environments and has earned the respect and confidence of major players in the industry for its

consistently reliable and high-quality services. Such expertise and know-how include industry

and client-specific knowledge of how to implement intrusive COVID-19 screening and testing

services in a way that does not interfere with production. This expertise and know-how, together
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with, at the least, (a) Medcor’s telephone triage algorithms, Medcor’s AFKAM software, and

Medcor’s telephone triage methods, processes and systems; (b) Medcor’s occupational health

clinic Patient Care Guidelines, Medcor’s processes and systems to implement and execute its

Patient Care Guidelines, Medcor’s Medfiles software, and Medcor’s Medfiles Wizard

algorithms; (c) Login and password information for Medcor’s information systems; (d)

Medcor’s business planning and pricing methodologies; (e) Medcor’s internal non-public

financial information; (f) Information from clients that is considered a trade secret by the client;

(g) Client and customer lists, the identity of key client contact persons responsible for purchasing

the types of services provided by Medcor, and Medcor’s pricing methods (including, but not

limited to, the COVID Services key client list and execution methods); (h) Specialized strategies,

practices and procedures for obtaining and maintaining clients, including both proven and

planned marketing, sales and ongoing service strategies and programs; (i) Medcor’s Quality

Assurance methods and results; (j) Medcor’s integration between customers’ claims processes

and Medcor’s clinic and triage processes, including operational solutions relevant to individual

clients; (k) Medcor’s clinic operations policies, procedures and processes.; (l) Medcor’s

telephone triage policies, procedures and processes; (m) The processes and systems of Medcor’s

clients, including claims processing and handling, client policies and procedures, the systems and

methods clients utilize to interface with Medcor’s services; (n) All personal information about

individuals utilizing Medcor’s services; (o) Information from clients that is considered

proprietary information by the client; and (p) Other information determined by Medcor to be

confidential (all of the above, including said expertise and know-how, are collectively referred to

herein as “Protected Information”) are important and valuable trade secrets of Medcor. Id. at ¶

25.



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       Medcor closely guards its Protected Information, and takes specific measures to restrict

access to and preserve the confidentiality of this information, including, but not limited to,

requiring employees to sign agreements containing terms and covenants designed to maintain

confidentiality and requiring the return of Medcor’s property upon resignation or termination.

Id. at ¶ 28. Defendant Garcia, Defendant Brown, and Defendant Patel each signed such

agreements. Id. at ¶¶ 33, 41–48, 51–52. The agreements signed by Defendant Garcia and

Defendant Brown contain non-solicitation and non-compete provisions, among others, restricting

the use of Medcor’s Protected Information. Id. at ¶ 41. The agreements signed by Defendant

Patel contain confidentiality and non-disclosure provisions, among others, restricting the use of

Medcor’s Protected Information. Id. at ¶¶ 54–55.

       As detailed in the Verified Complaint, the process for preparing and selling Medcor’s

services, including its COVID Services, was developed over time at great effort and expense, is

not generally known, is proprietary, and is of substantial commercial value. Medcor has spent

many years and significant expenditures developing and refining its Protected Information and

carefully limits access to its Protected Information to certain employees and requires such

employees to maintain the confidentiality of the Protected Information. Id. at ¶¶ 24–31. Indeed,

Medcor sells customized services to its clients, including its COVID Services. By way of example

and without limitation, Medcor’s clients in the sports and entertainment industries each have

different and unique needs, depending on their personnel, event locations, production scale and

other unique characteristics that vary from client to client. No two customers have the same needs,

which is why the Protected Information, including Medcor’s customer lists and other confidential

information, are so valuable. Any outsider would find himself at an extreme disadvantage if he or

she were to attempt to solicit and divert Medcor’s business. On the other hand, a former Medcor



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employee would know exactly how to effectively solicit and provide services, including COVID

Services, to Medcor customers. This is why Defendant Garcia, a former Medcor director, formed

Defendant Medway to compete with Medcor, mere days after he was terminated from Medcor.

       Defendant Garcia was a director level employee of Medcor from October 1, 2019 until

December 9, 2020. Id. at ¶ 18. In his capacity as a director, Defendant Garcia received Protected

Information, including business planning, pricing, and the identities of key client contacts within

Medcor’s entertainment and sports client list. Id. at ¶ 38. From approximately June 2020 to

December 9, 2020, Defendant Brown was employed by Medcor and reported directly to Defendant

Garcia. Id. During Defendant Garcia’s tenure at Medcor, he provided Defendant Brown access

to the Protected Information. Id. On December 9, 2020, after Defendant Garcia’s termination

from Medcor, Defendant Brown was promoted into Defendant Garcia’s role as Director of

Operations and was provided first-hand access to the Protected Information. Id.

       Medcor terminated Defendant Garcia on December 9, 2020. Id. at ¶32. The domain name

for Defendant Medway’s website, <medwayhealth.org>, was registered on December 12, 2020.

Id. Articles of Incorporation for Defendant Medway were filed with the California Secretary of

State on January 13, 2021. Id. The Articles show Defendant Garcia as the Individual Agent for

Defendant Medway. Id. After Defendant Garcia was terminated from Medcor, and while

Defendant Brown and Defendant Patel continued to work for Medcor, Defendant Brown and

Defendant Patel used their access to the Protected Information to divert Medcor business to

Defendant Garcia and Defendant Medway. Id. at ¶¶ 58–79.

       Defendant Brown and Defendant Garcia were both obligated to return their Medcor

equipment and other materials post-termination pursuant to their employment agreements. Id. at

¶ 43. Defendant Brown has thus far not returned the Medcor equipment. Id. In connection with



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Medcor’s ongoing inspection of Defendant Garcia’s Medcor computer, Medcor has learned that

Defendant Garcia’s Medcor computer appears to have been little used during Defendant Garcia’s

employment with Medcor and, therefore, Medcor strongly suspects that Defendant Garcia utilized

another device to conduct Medcor business. Such other devices likely were used to access

Protected Information, and Protected Information may be saved thereon.

          Defendants have and are continuing to improperly use the Protected Information to

develop, through Defendant Medway, a competing healthcare services company offering COVID

Services to Medcor customers.

          Medcor requests the Court to enter an Order permitting Plaintiff to take limited expedited

discovery. As outlined above, the requested discovery is limited in scope and will not unduly

prejudice Defendants. Further, the requested discovery will help to ensure no potentially relevant

evidence is destroyed, and will mitigate the injury suffered by Medcor as a result of the

misappropriation of its proprietary information and the non-corporate Defendants’ breaches of

their respective contracts with Medcor.

III.         ARGUMENT AND AUTHORITY

          Courts are empowered to authorize expedited discovery, including expediting the

commencement of the discovery period, upon a showing of good cause. Fed. R. Civ. P. 26(d),

33(a), & 34(b); see also Hard Drive Prods., Inc. v. Doe, 283 F.R.D. 409, 410 (N.D. Ill. 2012).

Good cause is found when the need for expedited discovery outweighs any prejudice to the

Defendants in consideration of the administration of justice. Ibarra v. City of Chi., 816 F. Supp.

2d 541, 554 (N.D. Ill. 2011). Expedited discovery is frequently granted in cases concerning

trade secrets and trademark infringement between two competitors. See, e.g., Johnson & Johnson

v. Advanced Inventory Management, Case No. 20-cv-3471, (N.D. Ill. June 16, 2020). In this



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Circuit, District courts "evaluate a motion for expedited discovery on the entirety of the record to

date and the reasonableness of the request in light of all the surrounding circumstances." Bicycle

Peddler, LLC v. Does 1-12, 295 F.R.D. 274, 277 (N.D. Ill. 2013). “In applying the

'reasonableness' standard, factors a Court may consider include (1) whether a preliminary

injunction is pending; (2) the breadth of the discovery requests; (3) the purpose for requesting the

expedited discovery; (4) the burden on the defendants to comply with the requests; and (5) how

far in advance of the typical discovery process the request is made." Ibarra, 816 F. Supp. 2d at

554.

       Expedited discovery and a preservation order are particularly appropriate when, as here,

the plaintiff seeks immediate relief to cure irreparable injury and the requests are properly

tailored. See CampaignZERO, Inc. v. StayWoke Inc., 2020 U.S. Dist. LEXIS 228050, at *6 (N.D.

Ill. Dec. 4, 2020) (The narrowed discovery . . . will not impose a significant burden on

Defendants); Diversified Servs. v. Morrison, 2020 U.S. Dist. LEXIS 142962, at *11 (C.D. Ill.

April 2, 2020) (“The fact that the Preliminary Injunction is pending and the purpose for

requesting the expedited discovery weigh heavily in favor of allowing the request.”); see also

Shutterfly v. Foreverarts, No. CR 12-3671, at *3 (N.D. Cal. July 13, 2012) (ordering expedited

discovery and issuing preservation order where ex-employees allegedly wrongfully copied trade

secrets from plaintiff’s computer and used the information to establish a competitive website);

Ellsworth Associates, Inc. v. U.S., 917 F. Supp. 841, 844 (D.D.C. 1996) (granting expedited

discovery for narrowly tailored discovery requests).

       The information Plaintiff seeks is within the possession and control of Defendants and

readily accessible to them. The requested discovery is not overly broad or unduly burdensome.

Indeed, Plaintiffs have narrowly tailored their discovery requests to only four interrogatories and



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seven document production requests. The proposed discovery is limited to key facts such as the

scope of materials misappropriated from Plaintiffs; the persons to whom the trade secrets and

proprietary information have been disseminated; and the extent to which the trade secrets and

proprietary information are being used in connection with Defendants’ business. See Plaintiffs’

Exhibits A and B, attached.

         Furthermore, to ensure that all relevant evidence is preserved, Plaintiffs seek a

preservation order requiring Defendants not to destroy any of the evidence pertaining to this

matter. The preservation order would not burden Defendants and is appropriate under the

circumstances—even without a court order, parties to civil litigation may not destroy evidence.

See, e.g., Lekkas v. Mitsubishi Motors Corp., 2002 WL 31163722, at *3 (N.D. Ill. Sept. 26,

2002); see also Shutterfly, No. CR 12-3671, at*3 (“Simply prohibiting the destruction of

evidence will not burden defendants.”).

IV.      CONCLUSION

         For the forgoing reasons, Medcor respectfully request that the Court grant its Motion for

Expedited Discovery, a Preservation Order, and a Protective Order. A Proposed Order is

submitted herewith for the Court’s convenience.


         Dated: May 5, 2021                            Respectfully submitted,


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